 Case 5:16-cv-00073-JRG-CMC Document 130 Filed 11/08/17 Page 1 of 1 PageID #: 4846
        UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

                                             NOTICE OF DOCKETING                               FILED: 11/8/17
                                                                                           U.S. DISTRICT COURT
                                        18-109 - In re: Fluidmaster, Inc.                EASTERN DISTRICT COURT
                                                                                         DAVID A. O'TOOLE, CLERK
Date of docketing: November 8, 2017

A petition for writ of mandamus has been filed.

Name of petitioner(s): Fluidmaster, Inc.

Name of respondent(s), if known: Danco, Inc.

Related action(s): if known: United States District Court for the Eastern District of Texas, 5:16-cv-00073-JRG-CMC

Critical dates include:

    •   Entry of appearance. See Fed. Cir. R. 47.3.
    •   Certificate of interest. See Fed. Cir. R. 47.4.

The official caption is reflected on the electronic docket under the listing of the parties and counsel. The Rules of
Practice and required forms are available at www.cafc.uscourts.gov.

Peter R. Marksteiner
Clerk of Court


cc: United States District Court for the Eastern District of Texas
Robert Gravois
Richard Paul Sybert
